                 UnitedDocument
USCA Case #25-5109       States    Court ofFiled:
                                #2110733      Appeals
                                                  04/13/2025                    Page 1 of 1
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5109                                                September Term, 2024
                                                                       1:25-cv-00532-TNM
                                                       Filed On: April 13, 2025
Associated Press,

              Appellee

       v.

Taylor Budowich, in his official capacity as
White House Deputy Chief of Staff, et al.,

              Appellants


       BEFORE:       Pillard, Katsas, and Rao, Circuit Judges

                                        ORDER

      It is ORDERED, on the court’s own motion, that this case be scheduled for oral
argument on Thursday, April 17, 2025, at 2 P.M. before Circuit Judges Pillard, Katsas,
and Rao. It is

       FURTHER ORDERED that the following times be allotted for oral argument:

              Appellants                  -              15 Minutes

              Appellee                    -              15 Minutes

       One counsel per side to argue. Form 72, which may be accessed through the
link on this order, must be completed and returned to the Clerk’s Office by April 14,
2025.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk

The following forms and notices are available on the Court's website:

Notification to the Court from Attorney Intending to Present Argument (Form 72)
